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7
      Attorney for Defendant
      DMW DRESSES, LLC formerly known
8     as PROMGIRL, LLC
9
                         UNITED STATES DISTRICT COURT
10
                        CENTRAL DISTRICT OF CALIFORNIA
11
      TEXKHAN, INC., a California             Case No. 2:19-cv-02850-DMG-JC
12
      Corporation, individually and doing
13    business as HYUP SUNG T.R.D.,           JOINT STIPULATION TO
14
      Plaintiff,                              EXTEND TIME TO RESPOND
                                              TO INITIAL COMPLAINT BY
15    vs.                                     NOT MORE THAN 30 DAYS
16                                            (L.R. 8-3)
      EN CREME, an unknown business
17
      entity; POSHMARK, INC., a Delaware      Complaint filed: April 12, 2019
18    Corporation, doing business as          Current response date: July 9, 2019
      POSHMARK; PROMGIRL, LLC, a              New Response Date: August 8, 2019
19
      New York Limited Liability Company,
20    doing business as THISGIRL; and
21
      DOES 1 through 50, Defendants.

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     JOINT STIPULATION TO EXTEND - 1
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1          Defendant DMW Dresses, LLC, formerly known as PromGirl, LLC
2
     (“Defendant”) and Plaintiff Texkhan, Inc. (“Plaintiff”) through their respective
3

4    counsel of record, hereby stipulate as follows:
5
           WHEREAS, Plaintiff filed its Complaint in the United States District Court
6

7    Central District of California on April 12, 2019;
8
           WHEREAS, the current deadline for Defendant’s response to the Complaint
9

10   is July 9, 2019;
11

12
           WHEREAS, counsel for Defendant DMW Dresses, LLC formerly known as

13   PromGirl, LLC requested—and counsel for Plaintiff agreed to—a brief 30-day
14
     extension of the deadline to file a response to the Complaint, up to and including
15

16   August 8, 2019;
17
           WHEREAS, the requested extension will not alter the date of any Court
18

19   ordered event or deadline;
20
           WHEREAS, Local Rule 8-3 permits the parties to file a stipulation to extend
21

22   the response deadline for no more than 30 days from the date the response initially
23
     would have been due without Court approval;
24

25         WHEREAS, no party will be prejudiced by the stipulated-to extension;
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     JOINT STIPULATION TO EXTEND - 2
     Case 2:19-cv-02850-DMG-JC Document 21 Filed 07/09/19 Page 3 of 4 Page ID #:61



1          WHEREAS, the Plaintiff and Defendant agree that justification and good
2
     cause exist to extend the date by which Defendant shall file a response to the
3

4    Complaint;
5
           NOW THEREFORE, IT IS THEREBY STIPULATED AND AGREED,
6

7    between Plaintiff, by its undersigned counsel and Defendant, by its undersigned
8
     counsel, that Defendant shall have up to and including August 8, 2019 to respond
9

10   to the Complaint in this action.
11
                                            Respectfully submitted,
12
      Dated: July 9, 2019                   By: /s/ Kyle Vos Strache
                                            Kyle Vos Strache (SBN 251807)
13
                                            kyle@vos-ip.com
14                                          VOS-IP, LLC
15
                                            1600 Market Street, Suite 2600
                                            Philadelphia, Pennsylvania 19103
16                                          Tel.: 650.387.6311
17
                                            Attorney for Defendant
18                                          DMW Dresses, LLC, formerly known as
                                            PromGirl, LLC
19

20
                                            By: /s/ Hyunsuk Albert Chang (with
                                            permission)
21                                          Hyunsuk Albert Chang (SBN206270)
22                                          Grace Hyojung Jang (SBN 302640)
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                                            Tel.: 310.769.6839
26                                          Fax.: 310.769.6787
27                                          Attorneys for Plaintiff
28                                          Texkhan, Inc.
     JOINT STIPULATION TO EXTEND - 3
     Case 2:19-cv-02850-DMG-JC Document 21 Filed 07/09/19 Page 4 of 4 Page ID #:62



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     JOINT STIPULATION TO EXTEND - 4
